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                          AGREEMENT liffWEEN
          THE CLEVELAND INSTITUTE OF MUSIC AND CARLOS KALMAR
                                            --FINAL--



This Agreement is made on 13 day of April 2021, between the Cleveland Institute of Music
("CIM- ). a nonprofit 501(C)(3) organization and Carlos Kalmar ("Kalmar"), represented by
Seldy Cramer Artists, 601 Van Ness Avenue. Apartment 15. San Francisco. CA 94102: Kalmar
hereby agrees to be personally and wholly bound by the tams of this Agreement.

                                           RECITALS

   A. WHEREAS, OM wishes to be the gold standard in orchestral ensemble preparation.
      training and artistic quality among America's conservatories and top schools of music:

   B. WHEREAS. CIM wants to build an orchestral training program and environment at the
      professional level in which to rigorously teach young musicians how to perform as her I
      orchestral musicians by continual focus in both rehearsal and concerts on intonation.
      rhythm and pulse. coherent and directional line. sound production and quality. chamber
      music-like balance, and entertainment/audience values, all in the broader context of
      understanding and appreciating stylistic and historical perspective and integrity:

   C. WHEREAS, CIM wants to build a conducting training program that is unique among
      conservatories and schools of music. in which to rigorously teach young conductors how
      to conduct professionally through focus on score reading. score study. musical context,
      baton techniques, rehearsal techniques, programming. and community and orchestral
      citizenship;

   D. WHEREAS, CIM wants a Director of Orchestral and Conducting Programs who is
      genuinely excited by the prospect of harnessing the limitless potential of C1N l's students
      through an Orchestral Program that lives up to the ambitious expectation of being at the
      top of the country's conservatories and elite schools of musk;

  C. WHEREAS, CIM wants a Director of Orchestral mid Conducting Programs who is a
     great conductor and accomplished musician with excellent rehearsal technique w ho sets
     and maintains an environment of high standards and expectations: and who is a
     sophisticated pedagogue and educator who can teach. communicate. nurture. draw out.
     and tirelessly pursue a relentlessly high musical and technical learning environment;




                                                                                 EXHIBIT 1
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    B,   ttmanie
         WHEREAS.CIM wants a Director of Orchestral and Conducting Programs who will
         devote pritmuy energies to CIM. and someone who will forge potential relationships with
         other educational institutions such as Aspen. Tanglewood. Civic Orchestra of Chicago.
         New World Symphony and Interloehen Center for the Arts: and with The Cleveland
         Orchestra.

   G. WHEREAS. CIM wants a Director of Orchestral and Conducting Programs who
      represents. contributes to, and advances CIM's high standards of artistic excellence. and
      possesses unwavering musical and personal integrity.

THEREFORE, in consideration of the agreements, covenants, representations. obligations and
privileges herein set forth, and intending to be legally bound hereby. CIM and Kalmar agree as
follows:

         1. EMPLOYMENT STATUS

                   a. CIM employs Kalmar as Director of Orchestral and Conducting Programs and
                      Principal Conductor upon the terms and conditions set forth herein. Kalmar's
                      employment status shall be as Regular Full-Time Faculty. and he shall serve
                      under this Agreement as an employee of CIM.

                   b. Kalmar shall formally report to the Provost, and have a substantive. day-to-
                      day working and consultative relationship with the Dean for Artistic and
                      Facilities Operations. For matters of broad institutional strategy. Kalmar shalt
                      work closely with the President.
         Pp




              TERM

                   a. This Agreement will remain in effect for six (6) years commencing on Jul• 1.
                      2021 and concluding June 30, 2027.

                   b. Subject to Section 8. if either party wishes to terminate the relationship at the
                      end of this Agreement, such party must notify the other in writing no later
                      than December 31, 2024. In the event neither party notifies the other of such
                      intention, the parties shall agree on terms for any extension of the Agreement
                      no later than June 30, 2025.
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      3. SCHEDULE

            a. 2021/22 Academic Year: From July 1,1021 to June 30. 2022. Kalmar shall
               be employed as, and accept the title, of Director Designate of Orchestral and
               Conducting Programs and Designate Principal Conductor during which period
               Kalmar shall be in residence at CIM for no more than ten weeks, such weeks
               to be scheduled by mutual agreement. Such weeks shall include the audition
               week (late August). two concerts with the CIM Orchestra in Severance Hall
               and rehearsals therefor. one concert of the CIM Orchestra in Kulas Hall and
               rehearsals therefor. plus additional weeks for planning with faculty and
               administration and getting to know the CIM family and community. These
               specific duties. perlbrmed in Cleveland. and Kalmar's availability otherwise
               via phone and video conferencing in order to plan and advise, define Kalmar's
               duties as an employee in the 2021-22 academic year.

               The announcement of Kalmar's appointment (ideally May and in-person)
               predates this Agreement.

           b. 2022/23 Academic Year through the end of the Agreement: For each of
               the succeeding five years of the Term of this Agreement commencing on July
               I.2022. Kalmar shall generally be in residence at CIM for no less than the
              two 15-week semesters (subject to Paragraph 4(b) below) through the months
              August through May, such weeks to be scheduled by mutual agreement. Such
              weeks shall honor CIM's customary full-time load of 18 hours per neek of
              scheduled activity, with such activity to be mutually agreed upon. The
              activity shall include auditions, rehearsals, performances. coaching. teaching.
              recruiting, planning and administration, and actively participating in the life of
              CIM.

           c. In order to maintain his active conducting career and industry visibility.
              Kalmar may be away from CIM throughout the last five years of this
              Agreement for up to five of the above weeks annually for guest conducting,
              such weeks to be mutually agreed upon. Kalmar shall coordinate such weeks
              with CIM well in advance and use his best efforts to align such periods pith
              CIM student breaks and guest laculty/conduetor appearances. Kalmar shall
              make certain that his conducting and teaching duties during such absences are
              covered by others.
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       4. DUTIES  -  PP ret Aree rene wee ee
                 AND RESPONSIBILITIES

                   a. Orchestra Studies Program:

                          i. Kalmar shall be the literal and figurative chief of orchestral
                             studies, and shall be decisive in setting, challenging. enforcing
                             and upholding the CIM standards.

                         ii. Kalmar shall design and implement a curriculum of rehearsals.
                             concerts, seminars, masterelasses, auditions. and other
                             supplemental activities that will serve as a broad and deep
                             foundation in orchestral playing, tailored. where appropriate. to
                             the varied needs of undergraduate. graduate. and artists
                             diploma students at CIM.

                         iii. Kalmar shall select. assign. track and routinely evaluate
                              repertoire/programming for pedagogical fit, placing
                              traditionally standard orchestral repertoire in appropriate
                              context and balanced with new and newly available works
                              representing diversity of styles. composer backgrounds. genre.
                              and era with an eye towards trends in professional orchestras
                              globally that should be integrated into the program to
                              appropriately prepare students for successful professional
                              orchestral careers.

                        iv. Kalmar shall set and unapologetically maintain expectations
                            for rehearsals, performances, and audiences that are clear,
                            consistent, and at the highest artistic and technical levels, and
                            ensure that all expectations are achieved within a culture of
                            serious, professional and collegial comportment.

                         v. Kalmar shall foster and actively seek collaboration %%ith ClM
                            liteulty and other key stakeholders to ensure continuity of
                            pedagogy beyond orchestral rehearsals and performances. such
                            as auditions, repertoire readings. seminars, masterelasses and
                            other supplemental activities, such activities to he developed
                            and/or evaluated in coordination with orchestral instrumental
                            Iliculty and constantly reevaluated in the context of the overall
                            Program expectations.
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                       vi. Kalmar shall leverage existing and new professional
                           connections to field a well-rounded, intentional program of
                           guest conductors and perlOrmers whose artistic and industry
                           credentials provide an unequivocal benefit to the students in
                           the Program.

                       vii. Kalmar shall accurately evaluate the potential of Program
                            participants for success in professional orchestral careers, and
                            diagnose. prescribe, and manage their pathway to success.

                      viii. Kalmar shall serve as an ambassador locally and globally for
                            the artistic standards of CIM, and prioritize expectations and
                            success of the Program in his overall artistic portfolio.
                            including ensuring that his position at CIM as the Director of
                            Orchestral and Conducting Programs is and remains the
                            primary position in his professional biography.

                 b. Principal Conductor:

                        i. Kalmar shall conduct CIM student orchestra and chamber
                           orchestra, conducting no less than 75% of all concerts
                           annually. Kalmar shall also conduct other CIM ensembles and
                           activities which may include the new music and chamber
                           ensembles, and will conduct one opera cycle annually.
                           participating with the vocal faculty in hearing auditions and
                           weighing in on role assignments.

                       ii. Kalmar shall select guest conductors for orchestra and chamber
                           orchestra concerts not conducted by Kalmar. Such selections
                           will afford due respect to the professional input and counsel of
                           the Dean. Provost, and President.

                      iii. Kalmar shall routinely invite theult and other guest artists to
                           participate in the rehearsal and performance processes, and to
                           maintain open. consistent lines of communication with
                           collaborators. and model and ibSlef a collaborative collegial
                           culture lxzwen all participants in the Program. All invitations
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                          must fall within mutually agreed upon established budgetary
                          provisions.

                      iv. Kalmar shall be a clear. consistent leader from the podium with
                          a temperament suitable Ihr an educational environment that
                          remains entirely focused on the expectations of the Program.

                      v. Kalmar shall manage respectful rehearsals and other activities
                         that will prepare the students for professional environment
                         while allowing time and space to grow and improve over the
                         course of a concert cycle, semester. year and Program.

                c. Conducting Program:

                      i. Kalmar shall conceive and design a formal Program for young
                         conductors, with a goal of having 2 or 3 such young conducting
                         students annually.

                      ii. Kalmar shall assist in identification, recruitment and selection
                          of such students, and shall have final say in their selection as
                          the result of interviewing prospective students in person at a
                          minimum of one prospective student audition day. Kalmar
                          shall apply CIM's standards of artistic and technical excellence
                          to the selection, education and personal growth of each
                          conducting student.

                     iii. Kalmar shall serve as the principal teacher of conducting and
                          take the lead in all activities of the Program.

                     iv. Kalmar shall model and foster the professional and personal
                         characteristics of a successful conductor and insist that students
                         apply these principles in working with internal and external
                         ensembles.

                      v. Kalmar shall be mindful of the use of resources, both financial
                         and human, when planning activities liar the conducting
                         students, to ensure that all such activities include pedagogical
                         benefits litrall participants.

                     vi. Kalmar shall collaborate with other internal and external units
                         (New Music rnsettible. Pre-College Division, neighboring
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                                regional orchestras) to provide mutually- beneficial
                                opportunities fur conducting students.

                    d. Other:

                            i. Kalmar shall actively engage with and participate in the life of
                               CIM.

                           ii. Kalmar shall help attract the best students and guest conductors
                               to CIM.

                          iii. Kalmar has been provided with and has read the CIM Faculty
                               I handbook. and agrees to he bound by the policies outlined
                               therein, except that where such provisions arc in conflict with
                               any of the terms outlined herein, the terms of this Agreement
                               shall supersede those of the Handbook.

                          iv. Kalmar shall he invited to participate in any future search
                              processes leading to the appointment of a CIM President and
                              CEO and/or Provost.

                                Kalmar shall consider other CIM teaching assignments as his
                                schedule allows. such as a possible -201- level conducting
                                course designed for serious undergrad students who are
                                contemplating studying conducting at the master's level.

     5. CIM OBLIGATIONS:

        In consideration of the mutual covenants herein:

                   a. CIM shall pay Kalmar a salary of         for the first year of his
                      employment (2021/22 season), such salary to be paid in bimonthly
                      installments.

                   b. CIM shall pay Kalmar a salary of          for the second year of his
                      employment (2022/23 season). such salary to he paid in bimonthly
                      installments.

                  c. For the 2023/24 season and beyond. Kalmar's compensation shall he
                     adjusted in accordance with Kalmar's performance of unes hereunder




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                      and compensation increases established by the Board of Trustees Ihr
                      the CIM Faculty and the Staff

                   d. CIM shall provide Kalmar with medical and retirement benefits and
                      any other appropriate fringe benefits. all as outlined in the then current
                      une
                      CIM I landhook. which Handbook has been provided to Kalmar.

                   e. CIM shall pay for Kalmar's reasonable expenses of moving his
                      household from Des Moines to Cleveland provided Kalmar secures
                      two estimates for such costs. and the parties mutually agree in advance
                      on which estimate to select.

                   C For the 2022/23 season and beyond. CIM shall reimburse Kalmar for
                     CIM-related and approved travel, lodging. food and entertainment
                     expenses in connection with Kalmar's conduct of CIM duties and
                     responsibilities outlined herein.

                   g. CIM shall provide Kalmar with a studio office at CIM. along with
                      appropriate administrative support for his conduct of the duties and
                      responsibilities outlined herein.

                  h. CIM recognizes the need to invest in the Orchestral Studies Program
                     and Conducting Program outlined herein. and shall make best efforts
                     to provide Kalmar with the necessary financial and human resources
                     support for designing, realizing and implementing such programs.
                     Such investments shall be mutually agreed upon by Kalmar and CESil
                     as part of CIM's ongoing budgetary processes.

                  i. For the year 2021/22. CIM shall reimburse Kalmar for his travel
                     expenses between Des Moines and Cleveland for the fulfillment of his
                     duties and responsibilities outlined herein, and in addition shall
                     provide Kalmar with housing while in Cleveland during this period
                     until such time as Kalmar officially moves his home to Cleveland.

      6. USE OF NAME AND LIKENESS; ANNOUNCEMENT OF TRANSITION

           Kalmar grants to CIM an unlimited right or its agents to use his name, likeness.
           biographical information or other information for promotional. advertising and
           fund-raising purposes at any time. No commercial endorsement involving
           Kalmar's name or likeness will be knowingly made without prior written consent
           of Kalmar. The parties agree that CIM will release a press announcement after
           the execution of this Agreement on a date to be mutually agreed upon by the
           parties and with wording approved mutually by the parties.




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     7. RECORDING AM) IIROADCASTS

           No additional compensation will he paid to Kalmar for any services or
           perlbrmances hereunder which is or are broadcast. recorded or televised for
           educational or community purposes. In case of any commercial recordings or
           broadcasts conducted by Kalmar made by CIM or any others. the parties will
           negotiate compensation in good faith in advance of such recording/hroadcast.

     8. TERMINATION

                  a. In the event that Kalmar is incapacitated for any reason and cannot
                     fulfill his commitments to CIM. CIM may, at its option. terminate this
                     Agreement upon thirty (30) days 'notice to Kalmar. CIM will pay
                     Kalmar all compensation due and accrued through this thirty (30) day
                     period and will have no further duty or liability to him.

                  h. CIM may also terminate Kalmar's employment for "cause." As used
                      herein, termination for cause shall mean "the termination of Kalmar's
                       employment with CIM as a result of(i) the commission by Kalmar of
                      a felony or a fraud. (ii) gross negligence or gross misconduct by
                      Kalmar with respect to CIM. (iii) Kalmar engaging in conduct or acts
                      of moral turpitude. (iv) Kalmar's insubordination or failure to follow
                      the directions of the President, which is not cured within thirty (30)
                      days or a longer period if necessary after written notice thereof to
                      Kalmar, (v) Kalmar's breach of a material employment policy of CIM.
                      which is not cured within thirty (30) days or longer if necessary after
                      written notice thereof to Kalmar, or (vi) a material breach by Kalmar
                     of this Agreement or any other agreement with am which is not cured
                      within thirty (30) days or longer if necessary after written notice
                      thereof to Kalmar. Kalmar shall be provided tnore than thirty (30) days
                      to correct any issue in relation to this paragraph 9h if Kalmar explains
                     to the President why additional time is needed to cure and Kalmar has
                     agreed to correct any alleged deficiency. If Kalmar is terminated tinder
                     the provisions of this paragraph. termination shall be effective
                     immediately unless otherwise stated herein, or at such later date as
                     determined by the President ol'CIM.

                 c. This Agreement may he amended, revoked, or terminated by reason of
                    force majeure. "Force in:Owe" has broad meaning and includes. hut is
                    not limited to, events beyond the control of Ohl. or not reasonably
                    toresecable by CIM, that disrupt ('IM's ability to operate, such as acts
                    of God. war, lire. or substantial damage to or destruction of the
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                      property of CIM; catastrophic weather events, local state or national
                      emergencies or disasters; or global pandemics or epidemics: along
                      with any effects of the foregoing.
      9. NOTICE

              Notices, requests or documents sent pursuant to this Agreement will be sent to
              the addresses and persons set forth below. All notices, requests or documents
              are deemed received when (i) delivered personally, (ii) one ( I ) day after
              deposit with a commercial express courier specifying next day delivery, with
              written verification of receipt, (iii) three (3) days after the date of mailing
              when sent by registered or certified mail, return receipt requested. or (iv) upon
              acknowledgement of receipt by the recipient if delivered by electronic mail.

              All notices, requests or documents directed to CIM will be sent to it as
              follows:

                  Paul Hogle, President and CEO
                  Cleveland Institute of Music
                  11021 East Boulevard
                  Cleveland. OH 44106

                  Email: paul.hogletiTIM.edu

              All notices, requests or documents directed to Kalmar will be sent to him as
              follows:

                  Seldy Cramer Artists
                  601 Van Ness Avenue, Apartment 15
                  San Francisco, CA 94102

                  Email: seldoncramerihmmil.com

     10. SEVERABILITY:

             If any provision of this Agreement, or its application to any person or
             circumstance, is deemed by a court of competent jurisdiction as invalid and
             unenforceable to any extent, the remainder at' this Agreement will not he
             affected thereby.

     II. GOVERNING LAW:

             This agreement will be constructed in accordance with the laws of the State of
             Ohio. The parties agree that the state or federal courts located in Cuyahoga



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                      County. 01I will he the exclusive venue Ibi any action arising out of this
                      Agreement.
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      12. ENTIRE aePoevenrie ee see
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                  AGREEMENT:
                       This Agreement contains the entire agreement between the CIM and Kalmar
                      ‘and no statements, promises or inducements made by either   : party or agents .for
                      t                  .            .                                        -
                       either party not contained in this Agreement will he binding or valid. If   there
                       iis a conflict                          ‘ Agreement and any other
                                      between the language in this                       ‘ document.
                      C?                   .
                      ‘or there are parallel
                                                                      .          .               .
                                             provisions in any other document, the language in this
                      :Agreement governs. ~
                                              This Agreement may not be amended except I:by written
                      :                                     .      .                  5   Sf     teen en
                       instrument executed by the duly authorized    representatives of both the CIM
                       and Kalmar.

      13. MISCELLANEOUS:
                      =
                      The headings                         Ic                         1
                                                                                      1          7
                                     in this Agreement arc for convenience only and will not affect
                      :1                        mem        .      noe
                        the meaning of the text. The Recitals set forth above constitute
                       -1                                                           .« an integral part
                      of this Agreement and are hereby incorporated herein by reference.

      14. AUTHORITY:

                      The persons executing this Agreement certify that they have the power and the
                      authority to enter into and execute this Agreement.

    CARLOS KALMAR                                        SELDY CRAMER ARTISTS
        Carlos-Kalmar
    BY: CP.... V,"41.••
                 :Arta  ranmoat)                         BY: Set Cosav Ar,
            Carlos Kalmar                                      Seldy Cramer
   DATE: Apr 13, 2021                                    DATE:        Apr 13, 2021



                                                        CLEVELAND INSTITUTE OF MUSIC
                                                                Thaliv. 'le
                                                                 Paul W. !logic. President and CEO

                                                        DATE:         Apr 13,2021




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